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 6
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 7
     GAL YIFRACH
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 9
                              IN THE UNITED STATES DISTRICT COURT
10
                                EASTERN DISTRICT OF CALIFORNIA
11

12   UNITED STATES OF AMERICA,                      CASE NO. 2:22-CR-00046-01 WBS
13                                Plaintiff,        DEFENDANT GAL YIFRACH’S
                                                    WAIVER OF APPEARANCE AND
14                         v.                       ORDER
15   GAL YIFRACH, et al.,
16                               Defendants.
17
           Defendant Gal Yifrach hereby waives the right to be present in person in open court upon
18 the hearing of any motion or other proceeding in this case, including when the case is set for

19 trial, when a continuance is ordered, when time is excluded under the Speedy Trial Act, and

20 when any other action is taken by the Court before or after trial, except upon arraignment, plea,
21 impaneling of jury and imposition of sentence.

22         Defendant hereby requests the Court to proceed during every absence of his which the
23 Court may permit pursuant to this waiver; agrees that his interests will be deemed represented at

24 all times by the presence of his attorney, the same as if defendant were personally present; and,

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                      DEFENDANT GAL YIFRACH’S WAIVER OF APPEARANCE AND ORDER
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              Case 2:22-cr-00046-WBS Document 99 Filed 02/02/23 Page 2 of 2

     further agrees to be present in person in court ready for trial on any day which the Court may fix
 1
     in his absence.
 2
      Dated: January 27, 2023                          /s/ Gal Yifrach_____________________
 3                                                     GAL YIFRACH
 4                                                      Defendant

 5 Dated: January 27, 2023                             /s/ David W. Dratman
 6                                                     DAVID W. DRATMAN
                                                       Attorney for Defendant
 7                                                     GAL YIFRACH
 8
                                                 ORDER
 9    IT IS SO ORDERED.
10

11    Dated: February 1, 2023

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                       DEFENDANT GAL YIFRACH’S WAIVER OF APPEARANCE AND ORDER
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